 Case 18-10303         Doc 13     Filed 04/30/19        Entered 04/30/19 13:13:38        Page 1 of 2


                          UNITED STATES BANKRUPTCY COURT

                             MIDDLE DISTRICT OF LOUISIANA


 IN RE: MARTIN, APRIL                                                     CASE NO. 18-10303

                           DEBTOR                                         CHAPTER 7



                     MOTION TO SELL PROPERTY OF THE ESTATE

        The Motion of Martin A. Schott, Trustee, represents that:

                                                   1.

       This case was commenced by the filing of a voluntary petition seeking relief pursuant to
Chapter 7 of Title 11 of the United States Code on 03/23/18.

                                                   2.

        The Trustee proposes to sell to APRIL MARTIN all of the estate's right, title and interest
in the following property:

            32" TV; 20" TV; Stereo; DVD Player; Video Games; Hairdryer; Telephone;
            Cellphone; Computer
                                                   3.

        The purchase shall be without any warranty or recourse whatsoever on the part of the Trustee,
even as to the return of the purchase price, but with full substitution and subrogation to all rights and
actions of warranty against all preceding owners, vendors or mortgagors. The purchaser shall buy
the property subject to any and all taxes, liens and encumbrances affecting the property. The
purchase price for the property to be sold is $370.00, which will be paid in cash at the Hearing.

                                                   4.

        The value of the property as scheduled by the debtor is $300.00.

                                                   5.

       If any party in interest is of the opinion that the property is worth more, then they may make
a higher offer in writing within the time specified in the Notice.
 Case 18-10303        Doc 13     Filed 04/30/19      Entered 04/30/19 13:13:38        Page 2 of 2



        WHEREFORE, Martin A. Schott, Trustee, prays that, after Notice of the Motion to all parties
in interest and opportunity for hearing, an Order be entered by this Court authorizing the Trustee to
sell by private sale, the property described for the price and on the terms set forth or to such party
offering a higher price, all other things remaining equal.

                                                      RESPECTFULLY SUBMITTED:



                                                        S/Martin A. Schott
                                                      MARTIN A. SCHOTT, TRUSTEE (11822)
                                                      7922 Wrenwood Boulevard., Suite B
                                                      Baton Rouge, Louisiana 70809
                                                      (225) 928-9292 Office
                                                      (225) 924-2469 Facsimile
                                                      usbc@schottlawfirm.com
